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                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF KENTUCKY
                                            AT PADUCAH
                                   CIVIL ACTION NO. 5:18-CV-041-TBR

  GALE CARTER, et al.                                                                     PLAINTIFFS

  v.

  PASCHALL TRUCK LINES, INC., et al.                                                    DEFENDANTS


                            MEMORANDUM OPINION AND ORDER

          This matter is before the Court on Defendant Element Transportation, LLC’s (“Element

  Transportation”) Motion for Summary Judgment. [R. 98.] Plaintiffs Gale Carter and Forbes

  Hayes (hereinafter “Plaintiffs”) responded, [R. 110], and Element Transportation replied, [R.

  113]. Also before the Court is Plaintiffs’ Motion for Leave to File a Sur-Reply. [R. 119.] This

  matter is now ripe for adjudication. For the reasons stated herein, Element Transportation’s

  Motion for Summary Judgment, [R. 98], is GRANTED and Plaintiffs’ Motion for Leave to File

  a Sur-Reply, [R. 119], is DENIED.

                                            BACKGROUND

          This case arises out of Gale Carter and Forbes Hayes’s previous employment as truck

  drivers for Paschall Truck Lines, Inc. (“PTL”). In short, Element Financial Corp. (“EFC”) leased

  tractor trailers to Plaintiffs who then subleased the tractor trailers and their driving services to

  PTL. [See R. 98-4 at 6-7 (Carter’s Responses to Request for Admissions); R. 98-6 at 6 (Hayes’s

  Responses to Request for Admissions).] Plaintiffs claim that this arrangement was represented to

  them as a “Lease-Purchase Program.” [R. 103 at 16 (Amended Complaint).] Specifically,

  Plaintiffs claim that as a condition of their employment for PTL, PTL required Plaintiffs to lease

  tractors from EFC, and, under the lease agreement with EFC, Plaintiffs could only drive for PTL.



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  [Id. at 8.] If they did not drive for PTL, the Plaintiffs claim that they would default on their Lease

  Agreements, “subjecting Plaintiffs to an acceleration clause whereby Plaintiffs would be required

  to pay the entire balance of the lease immediately.” [Id. at 9] However, this motion does not

  concern the substance of Carter and Hayes’s claims. Rather, it involves the question of who

  should be held liable.

         On October 20, 2015, Gale Carter entered in to an Individual Program Lease Agreement

  with EFC. [R. 98-3 at 2 (Carter Individual Program Lease Agreement).] That agreement

  terminated in December of 2015. [R. 98-4 at 7.] On March 18, 2016, Forbes Hayes entered into

  an Individual Program Lease Agreement with EFC. [R. 98-5 at 2 (Hays Individual Program

  Lease Agreement).] Hays discontinued his lease agreement in June of 2016. [R. 110-2 at 3

  (Plaintiffs’ Statement of Facts); R. 98-1 at 6.]

         On June 30, 2016, EFC became Element Financial, LLC. [R. 110-11 at 3 (Certificate of

  Conversion).] Element Financial, LLC continued to operate the commercial and vendor leasing

  business it had previously operated as EFC. [R. 110-2 at 4; R. 98-1 at 6.] On September 19,

  2016, a transaction occurred between Element Financial, LLC and Element Transportation, LLC,

  another subsidiary of Element Financial, LLC’s parent company—Element Financial

  Corporation. [R. 110-19 at 67:17-21 (Bradley Rowse Deposition); R. 110-2 at 4; R. 98-1 at 7.]

  Plaintiffs refer to a different agreement than Element Transportation, but both parties claim the

  document to which they refer represents the transaction of September 19, 2016. Plaintiffs

  provided the Asset Purchase Agreement as evidence that Element Financial, LLC transferred the

  trucks and the rights to receive lease payments on those trucks to Element Transportation on that

  date. [R. 110-2 at 4 (citing R. 110-14).] Element Transportation provided the SUBI Sale

  Agreement, of the same date, as evidence that Element Financial, LLC sold Element



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  Transportation “a special unit of beneficial interest in certain vehicles held in trust, including the

  vehicles previously leased by the Plaintiffs.” [R. 98-1 at 7 (citing R. 98-8).]

         On October 3, 2016, Element Financial Corporation split to form ECN Capital Corp. and

  Element Fleet Management Corporation. [R. 110-19 at 49:12-18; R. 98-1 at 7.] As a part of the

  split, Element Financial, LLC became ECN Financial, LLC (ECN). [R. 110-19 at 49:12-18; R.

  98-1 at 7; R. 110-2 at 5.] Plaintiffs states that, with that name change, ECN Financial, LLC was

  divested from Element Fleet Management Corporation and became a subsidiary of ECN Capital

  Corp. [R. 110-2 at 5.] Element Transportation, on the other hand, became a subsidiary of

  Element Fleet Management Corporation. [R. 110-19 at 40:16-41:7.]

         On December 30, 2016, Element Transportation assigned its interests in the trucks and

  accompanying leases to ECN Financial, LLC as interim assignee and 19th Capital Group, LLC

  as assignee. [R. 98-9 at 1 (Assignment Agreement).] In exchange, Element Transportation

  received an approximately 49.9995 percent equity interest in 19th Capital Group and a loan

  receivable—with an initial balance of approximately $740 million. [R. 110-19 at 67:24-69:2.]

         On December 19, 2017, Gale Carter and Forbes Hayes, on behalf of themselves and those

  similarly situated, filed the First Amended Complaint against PTL, ECN (as successor to EFC),

  and Element Transportation, LLC (as successor to ECN). [R. 19.] On October 12, 2018, Element

  Transportation filed the Motion for Summary Judgment that is currently before the Court. [R.

  98.] It raises the question of whether Element Transportation should be considered a successor in

  liability to Element Financial, LLC.

                                         LEGAL STANDARD

         Summary judgment is appropriate when the record, viewed in the light most favorable to

  the nonmoving party, reveals “that there is no genuine dispute as to any material fact and the



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  movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A genuine dispute of

  material fact exists where “there is sufficient evidence favoring the nonmoving party for a jury to

  return a verdict for that party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). The

  Court “may not make credibility determinations nor weigh the evidence when determining

  whether an issue of fact remains for trial.” Laster v. City of Kalamazoo, 746 F.3d 714, 726 (6th

  Cir. 2014) (citing Logan v. Denny’s, Inc., 259 F.3d 558, 566 (6th Cir. 2001); Ahlers v. Schebil,

  188 F.3d 365, 369 (6th Cir. 1999)). “The ultimate question is ‘whether the evidence presents a

  sufficient disagreement to require submission to a jury or whether it is so one-sided that one

  party must prevail as a matter of law.’” Back v. Nestlé USA, Inc., 694 F.3d 571, 575 (6th Cir.

  2012) (quoting Anderson, 477 U.S. at 251–52).

         As the party moving for summary judgment, the defendant must shoulder the burden of

  showing the absence of a genuine dispute of material fact as to at least one essential element of

  the plaintiff’s claims. Fed. R. Civ. P. 56(c); see also Laster, 746 F.3d at 726 (citing Celotex

  Corp. v. Catrett, 477 U.S. 317, 324 (1986)). Assuming the defendant satisfies his or her burden

  of production, the plaintiff “must—by deposition, answers to interrogatories, affidavits, and

  admissions on file—show specific facts that reveal a genuine issue for trial.” Laster, 746 F.3d at

  726 (citing Celotex Corp., 477 U.S. at 324). As the United States Supreme Court has stated,

  “there is no issue for trial unless there is sufficient evidence favoring the nonmoving party for a

  jury to return a verdict for that party. If the [nonmoving party's] evidence is merely colorable, or

  is not significantly probative, summary judgment may be granted.” Anderson, 477 U.S. at 249–

  50 (citations omitted); see Celotex, 477 U.S. at 322–23. “The mere existence of a scintilla of

  evidence in support of the plaintiff's position will be insufficient; there must be evidence on




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  which the jury could reasonably find for the plaintiff.” Anderson, 477 U.S. at 252; see Cox v. Ky.

  Dep't of Transp., 53 F.3d 146, 150 (6th Cir.1995).

                                                   DISCUSSION

           As mentioned above, this motion mainly concerns the question of whether successor

  liability should be applied to Element Transportation. The Seventh Circuit Court of Appeals once

  stated: “[T]he issue of successor liability is ‘dreadfully tangled, reflecting the difficulty of

  striking the right balance between the competing interests at stake.”’ Upholsterers' Int'l Union

  Pension Fund v. Artistic Furniture of Pontiac, 920 F.2d 1323, 1325 (7th Cir. 1990), quoting

  EEOC v. Vucitech, 842 F.2d 936, 944 (7th Cir. 1988). This proves to be true in the case at hand.

  The Court will address Element Transportation’s Motion for Summary Judgment, [R. 98], as

  well as Plaintiffs’ Motion for Leave to File a Sur-Reply, [R. 119.]

      I.       Element Transportation’s Motion for Summary Judgment

           Element Transportation moves for summary judgement on Count III and Count IV of the

  Amended Complaint. The Court will analyze each in turn.

               A. Count III: Violations of the Federal Forced Labor Statute

           Under Count III of the Amended Complaint, Plaintiffs allege that the defendants,

  including Element Transportation, “obtained the continuous labor of Plaintiffs by using threats of

  serious harm” and “operated a scheme, plan or pattern intended to cause Plaintiffs to believe that

  non-performance of labor would result in serious financial and professional harm.” [R. 103 at 28-

  29.] Plaintiffs allege that this conduct violates the federal forced labor statute, 18 U.S.C. §§ 1589

  and 1595. [Id.]1 In its Motion for Summary Judgment, Element Transportation asserts that it



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   “The federal forced labor statute, 18 U.S.C. § 1589, was enacted as part of the Victims of Trafficking and Violence
  Prevention Act of 2000 (also known as the Trafficking Victims Protection Act).” United States v. Callahan, 801
  F.3d 606, 617 (6th Cir. 2015).

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  should be granted summary judgment on Count III “because it did not agree to assume liability

  for Plaintiffs’ claims and it would not be equitable and in keeping with federal policy to hold it

  liable as a successor when it did not have notice of Plaintiffs’ claims, did not benefit from its

  predecessors’ alleged unlawful conduct, and ECN is able to provide Plaintiffs the requested

  relief.” [R. 98-1 at 5.]

           “Successor liability is appropriate in the employment-law context if ‘the imposition of

  such liability would be equitable.’” Comer, No. 2:14-CV-1986, 2016 WL 853027, at *5 (quoting

  Cobb v. Contract Transp., Inc., 452 F.3d 543, 554 (6th Cir. 2006)).2 In order to determine

  whether successor liability is equitable in a particular case, the Court must balance “1) the

  interests of the defendant-employer, 2) the interests of the plaintiff-employee, and 3) the goals of

  federal policy, in light of the particular facts of a case and the particular legal obligation at

  issue.” Cobb, 452 F.3d at 554 (citing EEOC v. MacMillan Bloedel Containers, Inc., 503 F.2d

  1086, 1091 (6th Cir. 1974)). “There is, and can be, no single definition of ‘successor’ which is

  applicable in every legal context.” MacMillan, 503 F.2d at 1091. Furthermore, “[s]uccessor

  liability questions must be answered on a case by case basis, and ‘a new employer . . . may be a

  successor for some purposes and not for others.’” Cobb, 452 F.3d at 554 (quoting MacMillan,

  503 F.2d at 1091). The Sixth Circuit also held that the following nine factors are relevant when

  considering successorship liability:

           (1) whether the successor company has notice of the charge; (2) the ability of the
           predecessor to provide relief; (3) whether the new employer uses the same plant;
           (4) whether there has been substantial continuity of business operations; (5)
           whether the new employer uses the same or substantially same workforce; (6)
           whether the new employer uses the same or substantially same supervisory
           personnel; (7) whether the same jobs exist under substantially the same working

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   Although district courts within the Sixth Circuit have previously applied successor liability under the FLSA and
  other federal statutes, the Court found no precedent, and the parties provided no case law, for the application of
  successor liability under the federal forced labor statute. However, as the parties do not dispute its application, the
  Court will engage in the successor liability analysis for the purposes of this motion.

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          conditions; (8) whether [the defendant] uses the same machinery, equipment and
          methods of production; and (9) whether [the defendant] produces the same
          product.

  Cobb, 452 F.3d at 554. The Sixth Circuit further explained that these factors are “not in

  themselves the test for successor liability” but “simply factors courts have considered when

  applying the three prong balancing approach, considering the defendant's interests, the plaintiff's

  interests, and federal policy.” Id. “The ultimate inquiry always remains whether the imposition of

  the particular legal obligation at issue would be equitable and in keeping with federal policy.” Id.

                   1. Interests of the Defendant-Employer

          In its Motion for Summary Judgment, Element Transportation argues that it had no notice

  of Plaintiffs’ claims when it purchased a beneficial interest in certain vehicles held in trust

  through the SUBI Sale Agreement. [R. 98-1 at 7.] Therefore, Element Transportation asserts that

  it would be “grossly unfair to hold Element Transportation liable as a successor” and the

  interests of the defendant-employer weigh against successor liability. [Id.] In support of this

  element, Element Transportation submitted the deposition of Bradley Rowse, Senior Vice

  President of Finance at Element Fleet Management Corporation, in which Rowse stated that

  Element Transportation did not have any notice of the claims or alleged violations of the law

  asserted by Plaintiffs. [R. 98-1 at 11 (citing R. 110-19 at 104:4-7).] Also, Element Transportation

  points to § 3.02(e) of the SUBI Sale Agreement, in which ECN agreed that it was unaware of any

  claims or threatened claims against it upon entering the SUBI Sale Agreement. [R. 98-8 at 17

  (SUBI Sale Agreement).]3 Furthermore, Element Transportation emphasizes that it purchased the


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   Section 3.02(e) of the SUBI Sale Agreement states:

          There are no actions, suits or proceedings pending, or to the knowledge of the Seller threatened,
          against or affecting the Seller or the Origination Trust, or the property of the Seller or the
          Origination Trust, in any court, or before any arbitrator of any kind, or before or by any
          governmental body, which may materially adversely affect the financial condition of the Seller or
          the Origination Trust or otherwise have a Material Adverse Effect on the Seller or the Origination

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  SUBI assets at book value, “as opposed to a discount to account for known claims.” [R. 98-1 at

  11 (citing 98-8 at 7).] Element Transportation then cites three different cases from outside the

  Sixth Circuit in concluding that “[b]ecause it had no notice of Plaintiffs’ claims, it would be

  grossly unfair to hold Element Transportation liable as a successor.” [Id. at 11.]4

          In their Response, Plaintiffs make several arguments concerning notice. First, Plaintiffs

  argue that lack of notice is not dispositive to a finding of successor liability. [R. 110 at 17.] As

  support, Plaintiffs cite to Clark v. Shop24 Global, LLC, 77 F. Supp. 3d 660, in which the plaintiff

  brought an action against his former employer under the Fair Labor Standards Act (FLSA) and

  Ohio state law, alleging that the defendants failed to pay him overtime. Clark, 77 F. Supp. 3d at

  668. During the plaintiff’s employment, his initial employer, Shop24 USA, sold its assets to

  Shop24 Global; however, his job responsibilities did not change and he continued to work. Id. at

  667. The Southern District of Ohio denied the defendant employers’ motion for summary

  judgment on the issue of successor liability even though the plaintiff conceded that Shop24

  Global did not have notice of the plaintiff’s law suit against Shop24 USA when Shop24 Global

  bought its assets. Id. at 693. Although the court noted that the first factor was “[i]n one sense . . .

  irrelevant to the case at hand,” the court also recognized that the record indicated that Shop24

  Global “potentially had notice” of the claims against Shop24 USA because the plaintiff

  expressed concerns about overtime pay before the transfer from Shop24 USA to Shop24 Global




          Trust. In addition, neither the Seller nor the Origination Trust is in default with respect to any
          order of any court, arbitrator or governmental body except for defaults with respect to orders of
          governmental agencies which defaults are not material to the business, property or operations of
          the Seller or the Origination Trust.

  [R. 98-8 at 17.]
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   Specifically, Element Transportation cites Upholsterers’ Int’l Union Pension Fund v. Artistic Furniture of Pontiac,
  920 F.2d 1323, 1327 (7th Cir. 1990); Musikiwamba v. ESSI, Inc., 760 F.2d 740, 750 (7th Cir. 1985); and Valdez v.
  Celerity Logistics, Inc., 999 F. Supp. 2d 936, 944, 946 (N.D. Tex. 2014).

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  occurred. Id. at 693 n.14. Similarly, Plaintiffs argue that Element Transportation “was or should

  have been aware of” Plaintiffs’ potential claims. [R. 110 at 18.]

           Secondly, Plaintiffs argue that Element Transportation had constructive notice of their

  claims against Element Financial, LLC. [R. 110 at 19.]5 As examples of courts that have broadly

  construed such notice, Plaintiffs cite to a Supreme Court case, Golden State Bottling Co., Inc. v.

  N.L.R.B., in which the Court found that a successor business had notice due to an individual

  serving as a manager for both the predecessor and the successor business, and a Sixth Circuit

  case, N.L.R.B. v. South Harlan Coal, Inc., in which the court found the successor business had

  notice due, in part, to the proximity of the predecessor and successor’s business operations. [Id.

  (citing Golden State Bottling Co., Inc, 414 U.S. 168, 173 (1973); South Harlan Coal, Inc., 844

  F.2d 380, 386 (6th Cir. 1988)).] Plaintiffs reason that “[b]ased upon the principles of Harlan and

  Golden State, Courts have held that when a successor’s officer was a director in a predecessor’s

  company, such facts give rise to a determination of notice for a successor company of its

  predecessor’s unfair labor practices.” [R. 110 at 19 (citing Laborer’s Pension Fund v. Lay-Corn,

  Inc., 455 F. Supp. 2d 773 (N.D. Ill. 2006) and Sullivan v. Alpine Irr. Co., No. 09 C 2329, 2011

  WL 1575617, at *6 (N.D. Ill. April 25, 2011)]. Thus, Plaintiffs conclude that notice of Element

  Financial, LLC’s unfair labor practices can be imputed upon Element Transportation because

  “[t]he officers of Element Financial, LLC . . . were the same as the officers of Defendant

  Element Transportation.” [Id. at 20.] Furthermore, Plaintiffs argue “as evidenced by its use of




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    For support, Plaintiffs cite Musikiwamba, 760 F.2d at 752 (explaining that “[n]ormally, the burden would be on the
  successor to find out from the predecessor all outstanding potential and actual liabilities”) and E.E.O.C. v. 786 S.
  LLC, 693 F. Supp. 2d 792, 795 (W.D. Tenn. 2010) (“It is well-accepted that constructive notice may suffice under
  the successor liability doctrine, at least where the relevant charges have been filed with the EEOC”). Plaintiffs state
  that cases like Musikiwamba and 786 South, LLC allow courts to “broadly construe[] the circumstances that
  constitute notice in the determination of successorship.” [R. 110 at 19.]

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   identical lease terms, Defendant Element Transportation continued the unfair labor practices of

   its predecessors, presumably because of the benefits its predecessors derived from same.” [Id.]

          Finally, Plaintiffs reject Element Transportation’s contractual argument regarding the

   SUBI Sale Agreement for two reasons. First, Plaintiffs state that “because the doctrine of

   successor liability is an equitable one, in making a determination on notice, entities may not rely

   upon contractual disclaimers to demonstrate an absence of notice.” [Id. (citing Clark, 77 F. Supp.

   3d at 692).] Second, Plaintiffs argue that the SUBI contract term that the seller is “unaware of

   any claims” does not control whether Element Transportation is liable for claims related to the

   assets it purchased because Element Transportation “expressly agreed to assume all liabilities of

   the seller, known or unknown, as set forth in Section 2.2 of the Asset Purchase Agreement . . ..”

   [R. 110 at 21.]

          In its Reply, Element Transportation mainly retorts these arguments made by Plaintiffs

   concerning notice. First, Element Transportation reiterates that it did not have notice of

   Plaintiffs’ claims and argues that it would be inequitable to hold Element Transportation liable

   for the alleged unlawful acts of Element Financial, LLC when it did not have notice of those

   acts. [R. 113 at 2.] Specifically, Element Transportation quotes the following line from Golden

   State as support: “Since the successor must have notice before liability can be imposed, ‘his

   potential liability for remedying the unfair labor practices is a matter which can be reflected in

   the price he pays for the business, or he may secure an indemnity clause in the sales contract

   which will indemnify him for liability arising from the seller’s unfair labor practices.’” [Id.

   (quoting Golden State Bottling Co., Inc., 414 U.S. at 185).] Secondly, Element Transportation

   distinguishes Clark from the matter at hand by stressing that, unlike the plaintiffs in Clark, the

   Plaintiffs in this matter never expressed concerns about potential violations of the federal forced



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   labor statute. [Id.] Third, Element Transportation asserts that the only evidence provided by

   Plaintiffs for the proposition that the officers at Element Financial, LLC were the same as the

   officers at Element Transportation is the Asset Purchase Agreement, in which Michael Beland

   signed on behalf of both the seller and the buyer. [Id. at 4.] However, Element Transportation

   states that this evidence falls short of being sufficient. Furthermore, Element Transportation

   argues that the “interplay between the terms of Plaintiffs’ Lease Agreements with EFC and the

   terms of their ICS Agreements with PTL” is not adequate to prove that Element Transportation

   continued the alleged unlawful labor scheme because Plaintiffs did not show that “PTL

   continued to use the same terms in its ICS Agreement and that Element Transportation continued

   EFC’s relationship with PTL.” [Id.] Finally, Element Transportation argues that it did not assume

   Element Financial, LLC’s liabilities in Section 2.2 of the Asset Purchase Agreement because

   “Section 2.2 applies only to future liabilities, i.e., those that arise or accrue after the asset

   purchase is completed.” [Id. at 5.]

           Out of the tangled mass of notice arguments strewn before the Court, three main issues

   rise to the surface: (1) the weight of lack of notice in a successor liability analysis, (2) the

   evidence regarding crossover of officers from Element Financial, LLC to Element

   Transportation, and (3) contractual interpretation of the agreements between the parties. First, the

   Court recognizes that the parties take a different perspective on the weight of notice as opposed

   to the other nine MacMillan factors. Neither perspective is necessarily incorrect. While the

   Supreme Court seemingly made notice a requisite for successor liability in the quote provided by

   Element Transportation, the Sixth Circuit stated that the nine MacMillan factors “are not in

   themselves the test for successor liability” and “all nine factors will not be applicable to each

   case.” Cobb, 452 F.3d at 554. Although other circuits have labelled notice as critical to the



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   successor liability analysis, see, e.g., Wheeler v. Snyder Buick, Inc., 794 F.2d 1228, 1236 (7th

   Cir. 1986), the Sixth Circuit’s stance on this matter remains unclear. However, notice’s role in

   this case becomes more transparent when one examines the actual evidence before the Court.

            Under the second issue, the Court notes that the only evidence provided for the assertion

   that the officers of Element Financial, LLC were the same as the officers of Element

   Transportation is the signature of one individual, Michael Beland, on behalf of both entities. [See

   R. 110 at 20.]6 Element Transportation emphasizes that Plaintiffs failed to provide any

   information on Beland, i.e., his title and responsibilities with the organizations, whether he was

   involved in the negotiations, the dates of his employment, whether he was involved in the

   alleged unlawful labor scheme, etc. Granted, the Sixth Circuit stated that “knowledge of unfair

   labor practice litigation need not be actual, but may be inferred from the circumstances.” S.

   Harlan Coal, Inc., 844 F.2d at 385 (6th Cir. 1988) (citing Golden State Bottling Co., 414 U.S. at

   173). However, Beland’s signature on its own pales in comparison to the evidence available to

   the courts involving the officers in Golden State and Harlan Coal—the cases Plaintiffs cite as

   broadly construing the successor liability standard.7




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     The signature referred to on the Asset Purchase Agreement is not labelled on the agreement itself. [R. 110-14 at 6.]
   However, Plaintiffs ask the Court to assume the signature belongs to the same person based on a visual comparison
   with the signature on a different document. [See R. 110-2 at 5, ¶ 24.] Plaintiffs provided no authentication of either
   of the signatures presented. The Court is ill-equipped to compare two signatures and determine whether they belong
   to the same person. However, even if they do belong to the same person, the evidence falls short of being sufficient.
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     Plaintiffs also cite to two cases from the Northern District of Illinois in support of this contention. [See R. 110 at
   19-20 (citing Laborers' Pension Fund, 455 F. Supp. 2d 773 and Sullivan, No. 09 C 2329, 2011 WL 1575617, at
   *6).] Beyond the fact that neither case is binding on this Court, both cases can be distinguished from the matter at
   hand. In Laborers’ Pension Fund, it was undisputed that the individual at issue was an officer and director of both
   the predecessor and successor entities with “no question” that the successor had notice of the predecessor’s
   obligations. See Laborers’ Pension Fund, 455 F. Supp. 2d at 782. In fact, the defendants did not challenge the
   adequacy of notice. Id. n.15. Here, Element Transportation questions Beland’s title and role as well as notice in
   general. In Sullivan, unlike the matter at hand, there was evidence that the individual at issue was “very involved in
   the day-to-day operations of Alpine” and he was president of the two alleged successor companies. See Sullivan, No.
   09 C 2329, 2011 WL 1575617, at *6.

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          In Golden State, All American Beverages, Inc. bought Golden State Bottling Co.’s soft

   drink bottling and distribution business after the National Labor Relations Board (NLRB)

   ordered Golden State to reinstate with backpay a driver-salesman whose discharge was found to

   be an unfair labor practice. 414 U.S. at 170. The Supreme Court agreed with the NLRB that All

   American had notice of the unfair labor practice litigation because the secretary/manager of

   Golden State discharged the driver-salesman, closely followed the progress of the litigation, and

   then continued working with the entity under All American’s ownership as a general manager

   and president. Id. at 173. In contrast, Plaintiffs provide no explanation or evidence as to Beland’s

   position or whether he played any part in the alleged unlawful activity.

          In Harlan Coal, Roy Jackson, the president of South Harlan Coal Company, Inc.,

   personally negotiated and bought a coal mine, Mine No. 12, from Croley Coal. 844 F.2d at 381-

   82. In between two occasions of negotiations, miners employed at Mine No. 12 publicly picketed

   in protest of certain alleged unfair labor practices. Id. The Sixth Circuit affirmed the NLRB’s

   finding of notice because Jackson was “personally engaged” in both negotiations, he lived in

   close proximity to the situs of unfair labor practices, he had a leading role in a major association

   dealing with the coal mining industry in the area, the local newspaper published three headline

   stories on the picketing (Jackson had a newspaper receptacle in front of his house), and the unfair

   labor practices occurred only a matter of months before the purchase of Mine No. 12. Id. at 386-

   87. Unlike Harlan Coal, the Plaintiffs in this matter provided no evidence regarding Beland’s

   role in the negotiations, nor is there any further circumstantial evidence that would allow the

   Court to infer that he had knowledge of any unfair labor practices.

          Under the third issue, the parties disagree over whether certain provisions from the SUBI

   Sale Agreement or the Asset Purchase Agreement serve as proof that Element Transportation did



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   or did not agree to assume the liability of the seller. As Plaintiffs emphasized in their Response,

   federal courts have generally held that a limitation of liability provision in an asset transfer

   agreement “does not control when the federal standard for successor liability is at issue.” Clark,

   77 F. Supp. 3d at 692 (citing Teed v. Thomas & Betts Power Sols., L.L.C., 711 F.3d 763, 765

   (7th Cir. 2013)); Finnerty v. Wireless Retail, Inc., 624 F. Supp. 2d 642, 657 (E.D. Mich. 2009)

   (noting that exclusion of liability by contract does not necessarily prevent successor liability

   from attaching). Thus, the Court finds that, on this particular issue, the federal standard for

   successor liability controls over a contractual provision.8

            Overall, the only evidence provided by Plaintiffs to show that Element Transport had

   notice of Element Financial, LLC’s unfair labor practices is a signature from Michael Beland on

   the Asset Purchase Agreement and one lease agreement from after the asset purchase occurred,

   [See footnote 8]. In comparison to the binding case law on the matter, this amounts to the “mere

   existence of a scintilla of evidence in support of the plaintiff’s position,” which is insufficient to

   prove a genuine issue for trial. Anderson, 477 U.S. at 256. Therefore, the Court holds that the

   interests of the defendant-employer weigh against successor liability.

                     2. Interests of the Plaintiff-Employee




   8
     The Court notes that Element Transportation also adds to the end of its notice argument: “Furthermore, as
   evidenced by its use of identical lease terms, Defendant Element Transportation continued the unfair labor practices
   of its predecessors, presumably because of the benefits its predecessors derived from same.” [R. 110 at 20.] The
   issue with this statement is that Plaintiffs alleged in their Amended Complaint that it was the interplay between
   ECN’s Lease Agreement and PTL’s ICS Agreement that allowed the defendants to allegedly “force the continued
   labor of Plaintiffs” by threats of serious financial harm. [See R. 103 at 27.] The one piece of evidence provided by
   Plaintiffs on this matter is a lease agreement between Element Transportation and a lessee, Michael Grant, that was
   made after the asset purchase. [See R. 110-8 at 14.] However, the listed carrier in the agreement is not PTL, rather a
   company labelled “ASF.” [Id. at 25.] Furthermore, Plaintiffs do not provide the agreement Grant entered with ASF
   in order to compare it to that of PTL. Thus, Plaintiffs have only provided half of the evidence required to show that
   Element Transportation continued the unlawful labor practice of trapping truck driving employees with an
   interlocking lease agreement and ICS agreement.

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           Element Transportation’s second argument within its Motion for Summary Judgment is

   that Element Financial, LLC continued operating as ECN after the asset purchase and it has

   sufficient assets to pay the relief Plaintiffs seek on their federal forced labor statute claim. [R. 98-

   1 at 12.] Thus, Element Transportation concludes that the interests of the plaintiff weigh against

   successor liability. [Id.] Plaintiffs respond that the fact that Element Financial, LLC still exists

   and may be able to provide relief does not preclude a finding of liability against Element

   Transportation. [R. 110 at 22.] Furthermore, Plaintiffs assert that both Element Financial, LLC

   and Element Transportation may be held liable for the predecessor’s bad acts under the doctrine

   of successor liability. [Id. at 23.]

           Although Plaintiffs never acknowledge “the interests of the plaintiff-employee” and how

   it should weigh in the consideration of successor liability, [see generally R. 110], it seems that

   Plaintiffs have an interest in being able to provide their truck driving services free from “threats

   of serious harm” and to be compensated properly. However, as explained above, Plaintiffs have

   not provided sufficient evidence that Element Transportation knew of or was involved such

   threats. Furthermore, the parties do not dispute that ECN is solvent and may be able to

   compensate Plaintiffs. Thus, it would not necessarily be against Plaintiff’s interests if Element

   Transportation was dismissed from this matter because Plaintiffs could still seek compensation

   from at least ECN. Considering that Plaintiffs brought this claim against Element Transportation,

   it would seem illogical to conclude that Plaintiffs’ interests do not weigh in favor of successor

   liability. However, the lack of evidence and the availability of defendants to compensate

   Plaintiffs balances the scales. Thus, this prong weighs neutrally.

                   3. Plaintiffs’ Other Arguments Regarding the MacMillan Factors




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            In Plaintiffs’ Response, after discussing Element Transportation’s first two arguments,

   Plaintiffs briefly argue the application of the remaining MacMillan factors. First, in reference to

   the third factor, Plaintiffs argue that Element Transportation utilized the same “plant” as Element

   Financial, LLC because the lease agreements of both companies identify the same address as the

   principle place of business. [R. 110 at 24.]9 Element Transportation responds that it did not have

   a physical address, rather the address listed on the agreement was simply a mailing address. [R.

   113 at 7.] As neither party presents sufficient evidence to ultimately prove whether Element

   Transportation utilizes a physical location, the Court finds that this factor weighs neutrally.

   Furthermore, as Element Transportation is not a manufacturer, it is not clear that this factor is

   relevant to this matter in the first place. See Finnerty, 624 F. Supp. 2d at 658 (finding that the

   relevance of this factor was “not apparent” because neither defendant “operated a plant

   producing the goods that were the subject of the Agreement”).

            Secondly, under the fourth factor, Plaintiffs contend that Element Transportation

   continued the business operations of Element Financial, LLC because Element Transportation

   continued leasing trucks to individuals under the same lease terms and with the same “Element”

   logo on the agreement as Element Financial, LLC. [R. 110 at 25.] As evidence, Plaintiffs provide

   one lease agreement from after the asset purchase in which Element Transportation left every

   provision the same as Element Financial, LLC’s lease agreements, except it changed the lessor

   name to Element Financial, LLC. [R. 110-8 at 14.] Element Transportation responds that there is

   no evidence that it provided equipment financing or vehicle fleet leasing to PTL. [R. 113 at 7.]

   Furthermore, under the fifth, sixth, and seventh factors, Element Transportation contends that it



   9
    Plaintiffs also state that “both entities relied upon Quality Companies, LLC to provide the servicing of the Class A
   vehicles under the leases it held.” [R. 110 at 24.] However, the Court finds this irrelevant to the matter of whether
   both entities utilized the same physical location.

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   did not have employees or supervisory staff and it did not maintain the same jobs under the same

   working conditions as Plaintiffs experienced. [Id.] While Plaintiffs’ broad argument under the

   fourth factor seems to weigh in favor of successor liability, Element Transportation’s pointed

   observations under the fifth, sixth, and seventh factors seem to weigh against it. Ultimately, as

   the parties mainly dispute the issue of notice, the limited discussion and evidence regarding these

   factors have little to no effect on the determination of successor liability in this matter.

                  4.   Keeping with Federal Policy

          After arguing the first two prongs of the three-prong successor liability test, i.e., that the

   interests of the employer and employee both weigh against applying successor liability, Element

   Transportation concludes its Motion for Summary Judgment by arguing that holding it liable as a

   successor would not “further the goals” of federal policy. [R. 98- 1 at 12.] Specifically, Element

   Transportation quotes a conference report concerning the Trafficking Victims Protection Act

   (TVPA) which states: “Section 1589 is intended to address the increasingly subtle methods of

   traffickers who place their victims in modern-day slavery, such as where traffickers threaten

   harm to third persons, restrain their victims without physical violence or injury, or threaten dire

   consequences by means other than overt violence.” H.R. CONF. REP. 106-939, at 101 (2000).

   Element Transportation reasons that these goals are not furthered by holding it liable as a

   successor because PTL and EFC are not traffickers, PTL and EFC did not use “subtle methods”

   to trick Plaintiffs, and “it strains credulity” to compare Plaintiffs’ contracts with PTL and EFC to

   “modern day slavery.” [R. 98-1 at 13.]

          Also, Element Transportation argues that the general goals of the successor liability

   doctrine under federal law are not furthered by holding Element Transportation liable. [Id.] It

   contends:



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            The purpose underlying successor liability is to prevent a violator of law from
            being able to escape liability “by selling its assets. . . and then dissolving.” The
            rationale for holding the successor liable is that “[t]he successor will have been
            compensated for bearing the liabilities by paying less for the assets its buying.”

   [Id. (quoting Teed, 711 F.3d at 766 (internal citation omitted)).] In contrast to this policy,

   Element Transportation argues that it received no lease payments from Carter or Hayes.

   Moreover, it did not receive any benefit from the alleged forced labor of any other owner-

   operators because it was guaranteed those lease payments by Element Financial, LLC

   “regardless of whether the owner-operators made any payments on their leases or provided any

   services to PTL.” [Id. (citing R.110-19 at 71:21-72:14).]

            In their Response, Plaintiffs first argue that although the federal forced labor statute is

   mostly commonly applied to situations involving undocumented immigrants being forced into

   labor or the sex trade, it should not be limited to such circumstances. [R. 110 at 26 (citing R. 80;

   United States v. Callahan, 801 F.3d 606, 617 (6th Cir. 2015)).] Plaintiffs assert that the

   conditions under which these truck drivers operate through the lease and labor agreements

   cannot be so easily brushed off as noncoercive or not involving forced labor. [Id.]10 Additionally,

   Plaintiffs argue that Element Transportation should be punished for benefitting from the

   unlawful practices by earning $28.4 million in leasing and over $30 million in loan interest

   because the federal forced labor statute states that “whoever knowingly benefits, financially or

   by receiving anything of value, from participation in a venture . . . shall be punished . . ..” [Id. at

   25-26.]11 Lastly, Plaintiffs also imply that not finding Element Transportation liable would


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      Plaintiffs cite and briefly discuss an article from USA Today showing that “truckers in lease contracts suffer
   conditions reminiscent of indentured servitude.” [Id.] Element Transportation object to the article on hearsay
   grounds. [R. 113 at 5.] The Court agrees that it is hearsay. See Parker v. Winwood, No. 16-CV-00684-JPM-AN,
   2017 WL 6886076, at *9 (M.D. Tenn. Oct. 17, 2017) (collecting cases) (“Newspaper articles are typically
   considered hearsay under Rule 801(c) when offered for the truth of the matter asserted”). Furthermore, the article
   fails to establish notice because it was published almost a year after the asset sale on June 16, 2017 and it does not
   involve the parties in this case. [See R. 110 at 27 n.1 (citing USA Today article).]
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      18 U.S.C. § 1589(b).

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   violate the policy of successor liability in that it would allow Element Transportation to benefit

   from continuing the business operations of Element Financial, LLC without holding anyone

   accountable to the injured employees. [Id. at 28.]12

               Element Transportation counters Plaintiffs’ arguments by stating that the “relevant

   question” at hand is whether it benefitted from Plaintiffs’ forced labor—as opposed to whether it

   benefitted in general from the transaction. [R. 113 at 6.] Element Transportation agrees that it

   generated $28.4 million in revenue from lease payments for commercial trucks, however,

   “[n]one of this revenue was from Plaintiffs because Plaintiffs’ leases had terminated and

   Plaintiffs had ceased performing work for PTL before Element Transportation purchased the

   SUBI assets.” [Id.] Moreover, Element Transportation contends, once again, that it did not

   receive any increased lease payment revenue from any owner-operator because of the alleged

   unlawful labor scheme between EFC and PTL. [Id.] Rather, there was a “seller guarantee to pay

   EFC the payments due under the lease agreements regardless of whether the owner/operator

   drivers who signed those agreements made any payments or performed any work.” [Id.] Lastly,

   Element Transportation rejects the notion that it receiving interest from 19th Capital is of any

   probative value because Element Transportation received no revenue from lease payments for

   commercial trucks after December 30, 2016. [Id. at 6-7.]




   12
        Specifically, Plaintiffs state:

               It is again important to note that Plaintiffs assertion that Defendant Element Transportation be
               liable for violations of the Federal Forced Labor Statute is not based upon its mere purchase of
               EFC’s assets. Rather, in the instant matter, Defendant Element Transportation was created from
               the reorganization of EFC’s parent company, and thereafter continued the business that EFC
               previously engaged in. Based on its continuity of the business operation that underlies the
               violations of the Forced Labor Statute, and the benefits Defendant Element Transportation has
               received from same, it would be equitable to hold Defendant Element Transportation responsible
               for same.

   [R. 110 at 28.]

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           In sum, the parties dispute whether finding Element Transportation liable as a successor

   to Element Financial, LLC will further the interest of federal policy, both under the federal

   forced labor statute and the general federal policy behind successor liability. The Court will

   consider their arguments concerning each policy in turn.

                       a. The Federal Forced Labor Statute

           “The federal forced labor statute, 18 U.S.C. § 1589, was enacted as part of the Victims of

   Trafficking and Violence Prevention Act of 2000 (also known as the Trafficking Victims

   Protection Act).” Callahan, 801 F.3d at 617. Although the legislative history quoted by Element

   Transportation depicts the statute as being directed specifically at human traffickers who place

   victims in “modern day slavery,” the actual text of the statute yields a broader interpretation. The

   first portion of the statute reads:

           Whoever knowingly provides or obtains the labor or services of a person by any
           one of, or by any combination of, the following means--
           (1) by means of force, threats of force, physical restraint, or threats of physical
           restraint to that person or another person;
           (2) by means of serious harm or threats of serious harm to that person or another
           person;
           (3) by means of the abuse or threatened abuse of law or legal process; or
           (4) by means of any scheme, plan, or pattern intended to cause the person to
           believe that, if that person did not perform such labor or services, that person or
           another person would suffer serious harm or physical restraint,

           shall be punished as provided under subsection (d).

   18 U.S.C. § 1589(a) (emphasis added). In Section (c) of the statute, the term “serious harm” is

   defined as:

           any harm, whether physical or nonphysical, including psychological, financial, or
           reputational harm, that is sufficiently serious, under all the surrounding
           circumstances, to compel a reasonable person of the same background and in the
           same circumstances to perform or to continue performing labor or services in
           order to avoid incurring that harm.




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   18 U.S.C. § 1589(c) (emphasis added). As the Sixth Circuit stated in Callahan while interpreting

   this statute, “[d]efendants are correct that ‘[w]hen construing a legislative enactment, [courts]

   must give effect to the intent of the legislature adopting the statute in question.’ But Defendants

   forget that ‘legislative intent should be divined first and foremost from the plain language of the

   statute,’ and ‘reference to legislative history is inappropriate when the text of the statute is

   unambiguous.’ Callahan, 801 F.3d at 617-18 (internal citations omitted). Thus, Plaintiffs were

   able to plead their claim under the plain language of the statute, but it remains ambiguous as to

   whether finding Element Transportation liable as a successor would align with the goals of the

   federal forced labor statute. As Element Transportation mentioned, the original purpose of the

   overall Trafficking Victims Protection Act in 2000 was to “combat trafficking in persons, a

   contemporary manifestation of slavery whose victims are predominantly women and children, to

   ensure just and effective punishment of traffickers, and to protect their victims.” 75 A.L.R. Fed.

   2d 467 (quoting Pub. L. No. 106-386, § 102, 114 Stat. 1488 (2000)). Furthermore, there is no

   case law currently available regarding the applicability of successor liability in a case involving

   the forced labor statute. Thus, it remains uncertain whether a finding of successor liability in this

   matter would align with the policy goals of the forced labor statute.

                       b. Federal Successor Liability

           As the Sixth Circuit stated in the context of applying successor liability in a Title VII

   case:

           Failure to hold a successor employer liable for the discriminatory practices of its
           predecessor could emasculate the relief provisions of Title VII by leaving the
           discriminatee without a remedy or with an incomplete remedy. . . . It is to be
           emphasized that the equities of the matter favor successor liability because it is
           the successor who has benefited from the discriminatory employment practices of
           its predecessor.




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   MacMillan, 503 F.2d at 1091-92. Here, failing to hold Element Transportation liable as a

   successor would not “emasculate the relief provisions” of the federal forced labor statute because

   other defendants remain who may be able to compensate Plaintiffs. Furthermore, “the equities of

   the matter” do not favor successor liability because there is not sufficient evidence that Element

   Transportation knew of or benefitted from the alleged unlawful labor practices of Element

   Financial, LLC. Plaintiffs claim that this is a situation in which a parent company attempted to

   evade liability by transferring interests between subsidiaries. [See R. 110 at 26-27.] However,

   with no sufficient evidence that Element Transportation was aware of any unlawful labor

   practices and no dispute that ECN can provide monetary relief, the Court must disagree. This

   matter does not present a circumstance that aligns with the goals of successor liability under

   federal common law.

          After weighing the interests of the employer and employee, as well as the goals of federal

   policy, the Court finds that the imposition of successor liability upon Element Transportation is

   inappropriate. Although the second prong seems to weigh neutral, the first and third both weigh

   against applying successor liability in this circumstance. Perhaps most importantly, it would not

   be equitable here to find Element Transportation liable when there is little to no evidence it had

   notice of Plaintiffs’ claims and Plaintiffs may still seek relief from Element Transportation’s

   predecessor, ECN. Thus, Element Transportation’s Motion for Summary Judgment, [R. 98], as it

   applies to Count III of the Amended Complaint, is GRANTED.

              B. Count IV: Violations of the Common Law Unjust Enrichment

          Element Transportation also moves for summary judgment on Count IV of Plaintiffs’

   Amended Complaint, which alleges violations of common law unjust enrichment. In addition to

   federal common law, Element Transportation argues that it is also not liable as a successor under



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   Pennsylvania law, and, therefore, Plaintiffs’ claim of unjust enrichment should be dismissed. [R.

   98-1 at 14.] The parties do not dispute that Pennsylvania common law applies, as the lease

   agreements contained a Pennsylvania choice of law provision. [See R. 98-3 at 10; R. 98-5 at 10.]

          Under Pennsylvania law, “it is well-established that ‘when one company sells or transfers

   all of its assets to another company, the purchasing or receiving company is not responsible for

   the debts and liabilities of the selling company simply because it acquired the seller's property.’”

   Cont'l Ins. Co. v. Schneider, Inc., 582 Pa. 591, 599 (2005) (quoting Hill v. Trailmobile, 603 A.2d

   602, 605 (1992)). However, this rule is overcome if it is established that “(1) the purchaser

   expressly or implicitly agreed to assume liability, (2) the transaction amounted to a consolidation

   or merger, (3) the purchasing corporation was merely a continuation of the selling corporation,

   (4) the transaction was fraudulently entered into to escape liability, or (5) the transfer was

   without adequate consideration and no provisions were made for creditors of the selling

   corporation.” Hill, 603 A.2d at 605.

          As the factors under Pennsylvania law are rather similar to those under federal common

   law, the parties essentially repeat the arguments from the federal successor liability sections of

   their briefs. In relation to the five exceptions, Element Transportation argues: (1) the “SUBI Sale

   Agreement expressly states that Element Transportation did not assume an[y] of ECN’s

   liabilities,” (2) Element Transportation split with ECN rather than consolidate or merge, (3) ECN

   continued its commercial and vendor leasing business after the SUBI sale, (4) Element

   Transportation and ECN could not have entered into the transaction to escape liability because

   neither party had any knowledge of Plaintiffs’ claims, and (5) Element Transportation paid

   “book value” for the SUBI assets. [R. 98-1 at 14-15.] Plaintiffs’ respond that Element

   Transportation “explicitly agreed to assume the liabilities of its predecessor” pursuant to Section



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   2.2 of the Asset Purchase Agreement. [R. 110 at 30.] Furthermore, Plaintiffs contend that

   “during the period it continued the individual truck leasing business, Defendant Element

   Transportation represented a mere continuation of the individual fleet leasing business ECN

   Financial ran as EFC.” [Id.]

           First, as the Court explained above, Plaintiffs have not provided sufficient evidence that

   Element Transportation continued the unfair labor practices of its predecessor. Nor do Plaintiffs

   provide additional evidence here that Element Transportation was a “mere continuation” of

   ECN. In fact, neither party disputes that ECN continued doing business independently after the

   asset purchase occurred. [R. 113 at 7; R. 110 at 22; 24.] Thus, the Court finds this argument from

   Plaintiffs unconvincing.

           Secondly, upon examining the plain meaning of the unambiguous language of the Asset

   Purchase Agreement, the Court disagrees with Plaintiffs’ interpretation of Section 2.2. 13 Section

   2.2 states that “Buyer,” i.e., Element Transportation, “[f]rom and after the date hereof,” shall

   assume “the following debts, liabilities and obligations of Seller”:

           (a) All debts, liabilities and obligations of Seller in respect of or relating to the
           Transferred Assets that arise, accrue or are to be performed as a result of, on or
           after the date hereof, whether primary or secondary, direct or indirect, known or
           unknown, fixed or contingent, including, without limitation, any transfer taxes not
           required to be charged or collected by Seller; and

           (b) All debts, liabilities and obligations of Seller in respect of relating to the
           performance or completion of tasks, deliverables, services and other obligations
           required by the Transferred Contracts, other than debts, liabilities and obligations
           of Seller arising from the breach of, or failure of Seller to comply, prior to the
           date hereof, with any representation warranty, covenant or obligation in such
           Transferred Contracts.



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     “When the words of an agreement are clear and unambiguous, the intent of the parties is to be ascertained from
   the language used in the agreement, which will be given its commonly accepted and plain meaning.” LJL Transp.,
   Inc. v. Pilot Air Freight Corp., 599 Pa. 546, 559, 962 A.2d 639, 647 (2009) (internal citation omitted).


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   [R. 110-14 at 2 (emphasis added).] Both section 2.2(a) and section 2.2(b) state that Element

   Transportation is to be responsible for liabilities that occurred after the Asset Purchase

   Agreement, not “prior to the date hereof.” [Id.] Thus, the Court finds Plaintiffs’ contractual

   interpretation argument regarding successor liability under Pennsylvania law unconvincing as

   well. Element Transportation’s Motion for Summary Judgment as it pertains to Count IV of

   Plaintiffs’ Amended Complaint is GRANTED.

      II.      Motion for Sur-Reply

            Also before the Court is Plaintiffs’ Motion for Leave to File a Sur-Reply. [R. 119.] In

   support of this motion, Plaintiffs argue that the “Reply of Defendant Element Transportation

   contains a substantial inaccuracy that must be addressed for the Court to have a complete

   understanding of the evidence in the record.” [R. 119.] Specifically, Plaintiffs contend that

   Element Transportation incorrectly asserted that Plaintiffs failed to show that Element

   Transportation continued the unlawful forced-labor scheme between EFC and Paschall Truck

   Lines. [R. 119-1 at 2.] Plaintiffs go on to highlight evidence already in the record in an effort to

   refute this argument. [See R.119-1 at 2-3.]

            “Although the Federal Rules of Civil Procedure do not expressly permit the filing of sur-

   replies, such filings may be allowed in the appropriate circumstances, especially ‘[w]hen new

   submissions and/or arguments are included in a reply brief, and a nonmovant's ability to respond

   to the new evidence has been vitiated.’” Key v. Shelby Cnty., 551 F. App’x 262, 265 (6th Cir.

   2014) (quoting Seay v. Tenn. Valley Auth., 339 F.3d 454, 481 (6th Cir. 2003)). It is true that “sur-

   replies . . . are highly disfavored, as they usually are a strategic effort by the nonmoving party to

   have the last word on a matter.” Liberty Legal Foundation v. Nat'l Democratic Party of the USA,

   Inc., 875 F. Supp. 2d 791, 797 (W.D. Tenn. 2012) (internal quotation marks omitted). However,



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   the question of whether to permit such an additional filing is a matter left to the broad discretion

   of the trial court. See Key, 551 F. App’x at 264.

          Here, Element Transportation did not make a new submission or argument in its Reply.

   Rather, it was responding to Plaintiffs’ argument in its Response that “Defendant Element

   Transportation continued the unfair labor practices of its predecessors . . ..” [R. 110 at 17.]

   Furthermore, the evidence Plaintiffs claim refutes Element Transportation’s arguments in its

   Reply was already before the Court. Thus, Plaintiffs’ Motion for Leave to File Sure-Reply, [R.

   119], is DENIED.

                                             CONCLUSION

          For the foregoing reasons, IT IS HEREBY ORDERED:

          (1) Element Transportation’s Motion for Summary Judgment, [R. 98], is GRANTED. As

              there are no remaining claims against this party, Element Transportation, LLC is

              DISMISSED from this case.

          (2) Plaintiffs’ Motion for Leave to File a Sur-Reply, [R. 119], is DENIED.

          IT IS SO ORDERED.




                                          January 23, 2019




   cc: Counsel of Record



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